      Case 2:20-cv-00175-DPM-BD Document 14 Filed 10/21/20 Page 1 of 1



            IN THE UNITED STATES DISTRICT COURT
               EASTERN DISTRICT OF ARKANSAS
                       DELTA DIVISION

JASON M. MANNING/ROGERS                                          PLAINTIFF
ADC #108709

v.                      No. 2:20-cv-175-DPM-BD

DEEN, Major, EARU; ARKANSAS
DEPARTMENT OF CORRECTIONS,
East Arkansas Regional Unit; LAY, Warden,
EARU; and RANDALL, Major, EARU                               DEFENDANTS

                                  ORDER
      The Court adopts Magistrate Judge Deere's unopposed partial
recommendation, Doc. 5.     FED. R.   CIV. P. 72(b) (1983 addition to advisory
committee notes).     Manning/Rogers may proceed with his claims
against    Major    Deen,     Warden         Lay,   and    Major     Randall.
Manning/Rogers's claim against the Arkansas Department of
Corrections is dismissed with prejudice.
     So Ordered.


                                      D .P. Marshall Jr.
                                      United States District Judge
